Jil Mazer-Marino, Chapter 7 Trustee
CULLEN AND DYKMAN, LLP
100 Quentin Roosevelt Boulevard
Garden City, New York 11530
Telephone: (516) 357-3700
Facsimile: (516) 357-3792
Email: jmazermarino@cullenllp.com

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
 -----------------------------------------------------X
 In re:
                                                          Chapter 7
 SURGICAL SAFETY SOLUTIONS, LLC,
                                                          Case No. 20-10344 (SCC)
                                       Debtor.
 -----------------------------------------------------X

                         TRUSTEE’S APPLICATION IN SUPPORT OF
                          ORDER RETAINING GENERAL COUNSEL

TO THE HONORABLE SHELLEY C. CHAPMAN,
UNITED STATES BANKRUPTCY JUDGE:

                 Jil Mazer-Marino, the chapter 7 trustee (the “Trustee”) for Surgical Safety

Solutions, LLC, the above-captioned debtor (the “Debtor”), in support of this application (the

“Application”) for an order retaining general counsel to the Trustee, respectfully represents as

follows:

                     JURISDICTION, VENUE, STATUTORY PREDICATE

          1.     This Court has jurisdiction over this case and this motion pursuant to 28 U.S.C.

§§157 and 1334. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. This is a core

proceeding pursuant to 28 U.S.C. §§157(b)(2)(A). The statutory predicate for the Application is

section 327 the Bankruptcy Code.




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                                        BACKGROUND

          2.   On May 5, 2017 Wesley Holdings Ltd. commenced an action in the United States

District Court, Southern District of New York (the “District Court”) against 3si Systems, LLC,

3si Systems, LLC and Surgical Safety Solutions, LLC (collectively, the “Debtors”) and certain of

the Debtors’ principals.

          3.   On September 7, 2017, the District Court appointed William A. Brandt, Jr. of

Development Specialists, Inc. as the acting receiver for the Debtors (the “Receiver”).

          4.   On November 20, 2018, the District Court entered an order approving the

Receiver’s sale of certain of the Debtors’ assets to Wesley Holdings, Inc’s wholly owned

subsidiary.

          5.   The District Court subsequently entered an Order Granting Joint Letter Motion

Requesting Approval of Receivership Wind Down Procedures [Dkt. No. 220] (the “Wind Down

Order”), directing the Receiver to file chapter 7 bankruptcy petitions for each of the Debtors and

establishing the Receiver’s responsibilities with respect to respective bankruptcy filings.

          6.   In compliance with the Wind Down Order, the Receiver caused chapter 7 petitions

to be filed with this Court on February 4, 2020 for each of the Debtors.

          7.   On February 5, 6, and 14, 2020, the Trustee was appointed interim trustee for

Surgical Safety Solutions, LLC, 3si Systems, LLC, and 3si International, LLC, respectively.

          8.   The Debtor’s representative did not appear for the Bankruptcy Code section 341

meeting of creditors scheduled for March 12, 2020 and the meeting was adjourned to April 23,

2020.




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                                         REQUEST FOR RELIEF

          9.    By this Application, the Trustee is seeking to employ and retain Cullen and

Dykman LLP (“C&D”) as her attorneys, pursuant to Bankruptcy Code section 327(a) to perform

the legal services more fully set forth above, effective as of February 16, 2020.

                                         BASIS FOR RELIEF

          10.   The Trustee seeks to retain C&D because C&D’s attorneys have considerable

knowledge of the applicable law and significant experience in practicing before this Court.

Accordingly, the Trustee believes that C&D is well qualified to represent her in this case.

          11.   C&D may be requested to render the following services to the Trustee:

                    i. to represent the Trustee in connection with an investigation of the Debtor’s

                       assets and finances;

                   ii. to prosecute litigation on behalf of the Trustee and appear at hearings before

                       this Court and any other court with jurisdiction over the Debtor’s assets;

                  iii. to appear for, defend and generally represent the Trustee’s interests in the

                       Debtor’s case; and

                   iv. to advise and represent the Trustee regarding the general administration of

                       the Debtor’s case, including the analysis and objection to claims filed in the

                       Debtor’s case.

          12.   The Trustee submits that the retention of C&D under the terms described herein is

appropriate under Bankruptcy Code section 327, which empowers the Trustee, with the Court’s

approval, to employ attorneys “that do not hold or represent an interest adverse to the estate, and

that are disinterested persons, to represent or assist the trustee in carrying out the trustee’s duties

under this title.” 11 U.S.C. § 327(a).



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          13.   To the best of the Trustee’s knowledge, C&D’s partners, of counsel, and associates

do not have any connection with the Debtor, its creditors or any other party in interest, except to

the extent set forth in the “Declaration of Jill Mazer-Marino in        Support of the Trustee’s

Application to Retain General Counsel” that is annexed hereto as Exhibit “A”. Accordingly, the

Trustee believes C&D is disinterested and does not hold or represent an interest adverse to the

Debtor’s estate.

          14.   Subject to this Court’s approval and in accordance with Bankruptcy Code sections

330 and 331, the applicable Bankruptcy Rules, and the Local Rules, the Trustee requests that C&D

be compensated on an hourly basis for the services performed in connection with its representation

of the Trustee in this case. Additionally, the Trustee requests that C&D receive reimbursement of

actual and necessary expenses incurred in connection with its representation of the Trustee in this

case.




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                                             NOTICE

          15.    Notice of this Motion has been given to the United States Trustee for the Southern

District of New York. The Trustee submits that, under the circumstances, no other or further notice

is required.

          WHEREFORE, the Trustee respectfully requests entry of an order, substantially in the

form annexed hereto Exhibit “B”, authorizing the Trustee to retain C&D as general counsel in the

Debtor’s case and such other relief as is just and proper.

Dated: Garden City, New York
       March 20, 2020

                                              By: /s/ Jil Mazer-Marino
                                                      Jil Mazer-Marino, Chapter 7 Trustee
                                              CULLEN AND DYKMAN LLP
                                              100 Quentin Roosevelt Blvd.
                                              Garden City, New York 11530
                                              Tel.: (516) 357-3700
                                              Fax: (516) 357-3792
                                              Email: jmazermarino@cullenllp.com




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                                 EXHIBIT A

                      Declaration of Jil Mazer-Marino in
          Support of Trustee’s Application to Retain General Counsel




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Jil Mazer-Marino, Esq.
CULLEN AND DYKMAN, LLP
100 Quentin Roosevelt Boulevard
Garden City, New York 11530
Telephone: (516) 357-3700
Facsimile: (516) 357-3792
Email: jmazermarino@cullenllp.com

Proposed Counsel for the Chapter 7 Trustee

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
 -----------------------------------------------------X
 In re:
                                                          Chapter 7
 SURGICAL SAFETY SOLUTIONS, LLC,
                                                          Case No. 20-10344 (SCC)
                                       Debtor.
 -----------------------------------------------------X


                        DECLARATION IN SUPPORT OF TRUSTEE'S
                       APPLICATION TO RETAIN GENERAL COUNSEL

                 JIL MAZER-MARINO, pursuant to 28 U.S.C. § 1746, declares the following to

be true under penalty of perjury:

          1.     I am an attorney at law, duly admitted to practice in the State of New York and

before this Court.

          2.     I am a partner at the law firm of Cullen and Dykman LLP (“C&D”), which

maintains an office for the practice of law at 100 Quentin Roosevelt Boulevard, Garden City, New

York 11530. This declaration is submitted in connection with my application, as chapter 7 trustee

for the above captioned debtor (the “Debtor”), to retain C&D as my general counsel in the above-

captioned case.

          3.     To prepare this Declaration, C&D implemented procedures to ensure full

compliance with Title 11 of the United States Code (the “Bankruptcy Code”), the Federal Rules

of Bankruptcy Procedure (the “Bankruptcy Rules”), and the Local Rules of the United States

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Bankruptcy Court for the Southern District of New York (the “Local Rules”).

          4.       Pursuant to these procedures, I caused to be performed the following actions to

identify the parties relevant to this Declaration:

                   A list of the names, including the Debtor and persons and entities who are
                    substantial creditors of the Debtor, was assembled (collectively, the “Potential
                    Parties in Interest”). The list of Potential Parties in Interest is attached to this
                    Declaration as Schedule 1.

                   Personnel from C&D’s billing department compared each of the Potential
                    Parties in Interest (exclusive of any affiliates of such entities) to the names listed
                    in C&D’s comprehensive client and accounting database, which lists, among
                    other things, the name of each current and former C&D client for at least the
                    past three years (the “Conflict Check”).

          5.       Based on the above-described procedures, I have determined that: C&D does not

represent any person or entity in connection with any of the matters on which C&D is to be

employed as counsel, except as otherwise disclosed herein.

          6.       C&D, from time to time, may have or may continue to represent creditors of the

Debtor and various other parties actually or potentially adverse to the Debtor in matters wholly

unrelated to the Debtor or this chapter 7 case and to the matters on which C&D is to be employed

as counsel.

          7.       Despite the efforts described above to identify and disclose C&D’s connections

with Potential Parties in Interest in this chapter 7 case, C&D is unable to state with absolute

certainty that every client representation or other connection has been disclosed. C&D will

continue to research its relationships with the Debtor’s creditors and other Potential Parties in

Interest in this case and, if necessary, will disclose any additional connections in a supplemental

Declaration to be filed with this Court as required by Bankruptcy Rule 2014(a).

          8.       C&D represents no interest adverse to those of the trustee in this case (the

“Trustee”) or the estate of the Debtor and both C&D and the undersigned are disinterested persons


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as such term is defined in 11 U.S.C. § 101(14).

          9.    I am the attorney who will bear the primary responsibility for the representation for

which authority is sought herein.

          10.   I have read and am generally familiar with the Bankruptcy Code; the Bankruptcy

Rules; and the Local Rules.

          11.   C&D is well qualified to represent the Trustee’s interests in this case. C&D’s

attorneys have extensive experience and knowledge in the fields of debtor and creditor rights,

bankruptcy and litigation.

          12.   C&D, subject to subsequent approval of any fee application by this Court, will

perform services for the Trustee, in connection with this case at its usual and customary billing

rates, which at the present time are as follows for the professionals expected to work on this matter:

from $525.00 to $675.00 per hour for the services of partners, from $175.00 to $330.00 per hour

for the services of associates, and from $100.00 to $200.00 for the services of paralegals.

Additionally, C&D will seek reimbursement of all reasonable and necessary out of pocket

disbursements including but not limited to photocopying, messenger services and facsimile

charges.

Dated: Garden City, New York
       March 20, 2020


                                                              /s/ Jil Mazer-Marino
                                                              Jil Mazer-Marino, Esq.




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                SCHEDULE 1

          Potential Parties in Interest




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                                 Potential Parties in Interest

16 Amelia Drive RT                                 Brad Pulver

3si Systems, LLC                                   Brent and Pinecrest Holdings LLC
                                                   Barbara
3si Systems International, LLC
                                                   Brett and Equity Trust Company
Adam Levy                                          Custodian

ADT Security Services                              Brett and the Entrust Group FBO
                                                   Jarrod B.
Ahee Build, Inc.
                                                   Brett Giffin
Alere Inc.
                                                   Brian Woodbury
Amelia P. Nelson
                                                   Brown Neri Smith & Khan LLP
American Express
                                                   Burlington Centre Owner LLC
Analyticsmd
                                                   CAC LLC
Andrew Hatch
                                                   Caresyntax Inc.
Andrew Lazar
                                                   Chad and Emma and Equity Trust
Anthony Caserta                                    Custodian

Augmedics                                          Christine Dixon

Avhana Health Inc.                                 Christopher Philip Milazzo

Babblelabs Inc.                                    Cleveland Clinic

Barry and Equity Trust Company                     Cliniflow Technologies LLC
Custodian
                                                   Commonwealth of Massachusetts-
Ben Khosravi                                       Department of Tax

Bill Flecky                                        Congdon & Coleman

Black Duck Software                                Connecticut Department of
                                                   Economic
Blum Shapiro
                                                   Convergent Outsourcing


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Cornelius Colley                   Frank Sicilia

David and Equity Trust Company     Gary and Joann and Equity Trust
Custodian                          Company

David Kiderman                     Geoffrey Heineman
David Ross Carmel
                                   George Robbie
David W. Wagner
                                   Glen Haufler
Debra Lang
                                   Gordo, Fournaris & Mammarella
Dennis and Equity Trust Company    PA
Custodian
                                   Gregory C and Equity Trust
Development Specialists, Inc.      Company

Dinhduy Tran                       Hanover Square Capital Partners
                                   LP
Doug Regula
                                   Harold Strandquist
Downing Acquisition Partners LLC
                                   Haws, Shane c/o Christopher
Downing Digital Healthcare Group   Devito
LLC
                                   Helios Heart Center Leipzig
Downing Health Technologies LLC
                                   Henry Howard
Downing Investment Partners LP
                                   IVC HealthCom LLC
Downing Medical Device Group
LLC                                J.C. Flaherty

Downing Partners LLC               James Mcavinn

Ed and Equity Trust Company        Jan and Equity Trust Company
Custodian FB                       Custodian

Edward Howley                      Jason Maron

Ellenoff Grossman & Schole LLP     Jay and JP Holdings LLC PILA

Eric Hassman                       Jeffrey Rice

Explorer Surgical                  Jim Fries

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                                 National Enterprise System
JJ Cribb
                                 National Grid-Electric
John Hart
                                 Nationwide Credit
John Henesey
                                 NCB Management Services
Jonathan Cutler
                                 Northstar Location Services
John Hyun Park
                                 Nuance Communications Inc.
Joseph Wesley
                                 Ocwen Loan Servicing
Ken Stephens
                                 Osso VR Inc.
Kent County Water Authority      Paul Giroux

Kevin Conlon                     Pedro Alcantara

Kirsten Lee Molloy               Perahealth

Leonard Mancini                  Peter J. Furness

Louis Houff                      Piper Jaffrey & Co.

Mainsail Partners                Ponce and Equity Trust Company
                                 Custodian
Marc Lawrence
                                 R.M. Flaherty
Marco Zenati
                                 Raymond Childress
Margaret and David and Equity
Trust Company                    Richard Buckingham

Mark Miller                      Rob Kloecker
                 g
Matthew James McDonald           Ronald Page

Melissa and Thomas Fitzpatrick   Russell D. Raskin

Michael A. Vanniel               Ryan Detzel

Michael E. Bee Trust             Scott Lehigh

Michael Grumbine                 Michael Shaut Trust



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Sherpa Capital
                                   Thomas Hickman
Sofia Rexach
                                   Timothy A. and Equity Trust
St. Barnabas Health System         Company Custodian

St. Teresa Medical Inc.            Town of East Greenwich Tax Accessor

Stacy B. Ferrara                   United States Treasury- IRS

State of Rhode Island Department   Vince Schuessler
of Taxation
                                   Viresh Sitapara
Stephan and Lindsay Forden
                                   Wagner Family Revocable Trust
Stephen Post
                                   Warner Pyne
Steven Jesser
                                   Warwick Country Club
Sunrise Credit Services, Inc.
                                   Wells Fargo
Surgical Safety Solutions
Interactive LLC                    Wesley Holdings Ltd.

Surgical Safety Solutions, LLC     Wesley Holding LLC

                                   William R. and Artemis Velahos Koch
The Entrust Grouop FBO Lynnea
Raper
                                   William T. Wagenknecht
The Greca Plaza
                                   William V. Murfey FBO Mary V. Murfey




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           EXHIBIT B

          Proposed Order




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
 -----------------------------------------------------X
 In re:
                                                          Chapter 7
 SURGICAL SAFETY SOLUTIONS, LLC,
                                                          Case No. 20-10344 (SCC)
                                       Debtor.
 -----------------------------------------------------X

               ORDER APPROVING RETENTION OF GENERAL COUNSEL

                 Upon the application (the “Application”) of Jil Mazer-Marino, the chapter 7

Trustee (the “Trustee”) for the above-captioned chapter 7 debtor (the “Debtor”), to retain the law

firm of Cullen and Dykman LLP (“C&D”) as general counsel to the Trustee, and C&D having or

representing no interest adverse to the Trustee or to the estate in the matters upon which it is to be

engaged, and that its employment will be in the best interests of the estate, it is

                 ORDERED, that the Trustee is authorized to retain C&D as general counsel to the

Trustee under a general retainer for all matters in connection with its representation of the Trustee

as set forth in the Application as of February 16, 2020; and it is further

                 ORDERED, that C&D is authorized to perform the following services:

                 1. to represent the Trustee in connection with the investigation of the Debtor’s

                     assets and finances;

                 2. to prosecute litigation on behalf of the Trustee and appear at hearings before

                     this Court and any other court with jurisdiction over the Debtor’s assets;

                 3. to appear for, defend and generally represent the Trustee’s interests in the

                     Debtor’s case; and

                 4. to advise and represent the Trustee regarding the general administration of this

                     case, including the analysis and objection to claims filed in the Debtor’s case.



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                 ORDERED, that to the extent the Trustee requires C&D to perform additional

 services, the Trustee’s rights are preserved to seek Court approval to expand the scope of

 C&D’s retention; and it is further

                 ORDERED, that all fees payable to C&D shall be subject to proper

 application and Order of this Court; and it is further

                 ORDERED, that prior to any increases in C&D’s rates for any individual

 employed by C&D and providing services in this case, C&D shall file a supplemental

 affidavit with the Court and provide ten (10) business days’ notice to the Trustee, the United

 States Trustee and any parties in interest that have filed a notice of appearance and request

 for notices in the Debtor’s chapter 7 case; and it is further

                 ORDERED, that the supplemental affidavit shall explain the basis for the

 requested rate increases in accordance with Section 330(a)(3)(F) of the Bankruptcy Code;

 and it is further

                 ORDERED, that the United States Trustee retains all rights to object to any

 rate increase on all grounds including, but not limited to, the reasonableness standard provided

 for in section 330 of the Bankruptcy Code, and the Court retains the right to review any rate

 increase pursuant to Section 330 of the Bankruptcy Code.

Dated: New York, New York
       March __, 2020

                                               UNITED STATES BANKRUPTCY JUDGE
NO OBJECTION

WILLIAM K. HARRINGTON
UNITED STATES TRUSTEE

By: /s/ Andrew D. Velez-Rivera
    Andrew D. Velez-Rivera, Trial Attorney



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